              Case 23-90970-AKM-11                      Doc 1       Filed 10/06/23            EOD 10/06/23 09:58:04                 Pg 1 of 74


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF INDIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JMWays LLC d/b/a Skyline Chili

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3505 Grant Line Rd.                                             3310 E 10th St. Suite 351
                                  New Albany, IN 47150                                            Jeffersonville, IN 47130
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-90970-AKM-11                          Doc 1     Filed 10/06/23              EOD 10/06/23 09:58:04                       Pg 2 of 74
Debtor    JMWays LLC d/b/a Skyline Chili                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
              Case 23-90970-AKM-11                              Doc 1      Filed 10/06/23             EOD 10/06/23 09:58:04                    Pg 3 of 74
Debtor    JMWays LLC d/b/a Skyline Chili                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
             Case 23-90970-AKM-11             Doc 1       Filed 10/06/23         EOD 10/06/23 09:58:04               Pg 4 of 74
Debtor   JMWays LLC d/b/a Skyline Chili                                              Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case 23-90970-AKM-11                     Doc 1         Filed 10/06/23            EOD 10/06/23 09:58:04                   Pg 5 of 74
Debtor    JMWays LLC d/b/a Skyline Chili                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 6, 2023
                                                  MM / DD / YYYY


                             X /s/ William Jacobs                                                         William Jacobs
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Partner




18. Signature of attorney    X /s/ Weston E. Overturf                                                      Date October 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Weston E. Overturf
                                 Printed name

                                 Kroger, Gardis & Regas, LLP
                                 Firm name

                                 111 Monument Circle
                                 Suite 900
                                 Indianapolis, IN 46204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     317-777-7443                  Email address


                                 27281-49 IN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
         Case 23-90970-AKM-11                       Doc 1        Filed 10/06/23            EOD 10/06/23 09:58:04                Pg 6 of 74




Fill in this information to identify the case:

Debtor name         JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 6, 2023                 X /s/ William Jacobs
                                                           Signature of individual signing on behalf of debtor

                                                            William Jacobs
                                                            Printed name

                                                            Managing Partner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                Case 23-90970-AKM-11                  Doc 1         Filed 10/06/23              EOD 10/06/23 09:58:04                           Pg 7 of 74


 Fill in this information to identify the case:
 Debtor name JMWays LLC d/b/a Skyline Chili
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Angel Long                                          Notice Only - Will                                                                                              $561.00
 712 Academy Dr.                                     be Paid, for the
 Apt 11                                              Pay Period Prior
 New Albany, IN                                      to Filing,
 47150                                               According to the
                                                     Wage Motion
 Christopher Goode                                   Notice Only - Will                                                                                              $437.00
 494 South Main St.                                  be Paid, for the
 Marengo, IN 47140                                   Pay Period Prior
                                                     to Filing,
                                                     According to the
                                                     Wage Motion
 David Kessinger II                                  Notice Only - Will                                                                                            $1,008.00
 2220 E Spring St.                                   be Paid, for the
 New Albany, IN                                      Pay Period Prior
 47150                                               to Filing,
                                                     According to the
                                                     Wage Motion
 Elizabeth Nieman                                    Notice Only - Will                                                                                              $207.00
 6255 Forest Grove                                   be Paid, for the
 Dr. NE                                              Pay Period Prior
 Georgetown, IN                                      to Filing,
 47122                                               According to the
                                                     Wage Motion
 Gary Swartz                                         Notice Only - Will                                                                                            $1,188.00
 2225 Heritage Way                                   be Paid, for the
 Northwest                                           Pay Period Prior
 Corydon, IN 47112                                   to Filing,
                                                     According to the
                                                     Wage Motion
 Haley Hagedorn                                      Notice Only - Will                                                                                              $495.00
 1611 State St.                                      be Paid, for the
 New Albany, IN                                      Pay Period Prior
 47150                                               to Filing,
                                                     According to the
                                                     Wage Motion



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                Case 23-90970-AKM-11                  Doc 1         Filed 10/06/23              EOD 10/06/23 09:58:04                           Pg 8 of 74



 Debtor    JMWays LLC d/b/a Skyline Chili                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Hannah Doss                                         Notice Only - Will                                                                                              $495.00
 4244 Grantline View                                 be Paid, for the
 Court                                               Pay Period Prior
 New Albany, IN                                      to Filing,
 47150                                               According to the
                                                     Wage Motion
 Jenna Knauer                                        Notice Only - Will                                                                                              $132.00
 708 Academy Dr.                                     be Paid, for the
 Apt 20                                              Pay Period Prior
 New Albany, IN                                      to Filing,
 47150                                               According to the
                                                     Wage Motion
 Jeremiah Royality                                   Notice Only - Will                                                                                              $336.00
 2688 Grant Line                                     be Paid, for the
 Road                                                Pay Period Prior
 Apt 10D                                             to Filing,
 New Albany, IN                                      According to the
 47150                                               Wage Motion
 Kami Kessinger                                      Notice Only - Will                                                                                              $981.00
 2221 Hamburg Pike                                   be Paid, for the
 Jeffersonville, IN                                  Pay Period Prior
 47130                                               to Filing,
                                                     According to the
                                                     Wage Motion
 Kim Clare                                           Notice Only - Will                                                                                            $2,076.94
 145 McGrain St.                                     be Paid, for the
 Corydon, IN 47112                                   Pay Period Prior
                                                     to Filing,
                                                     According to the
                                                     Wage Motion
 Kindra Bailey                                       Notice Only - Will                                                                                              $468.00
 352 Erni Ave.                                       be Paid, for the
 New Albany, IN                                      Pay Period Prior
 47150                                               to Filing,
                                                     According to the
                                                     Wage Motion
 Lisa Graham                                         Notice Only - Will                                                                                              $131.00
 814 University                                      be Paid, for the
 Woods Dr.                                           Pay Period Prior
 New Albany, IN                                      to Filing,
 47150                                               According to the
                                                     Wage Motion
 Mariah Smith                                        Notice Only - Will                                                                                              $855.00
 1722 Ekin Avenue                                    be Paid, for the
 New Albany, IN                                      Pay Period Prior
 47150                                               to Filing,
                                                     According to the
                                                     Wage Motion




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                Case 23-90970-AKM-11                  Doc 1         Filed 10/06/23              EOD 10/06/23 09:58:04                           Pg 9 of 74



 Debtor    JMWays LLC d/b/a Skyline Chili                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Mike Marlow                                         Loan                                                                                                      $133,114.00
 3310 E 10th St. Suite
 351
 Jeffersonville, IN
 47130
 Mike Marlow                                         Notice Only - Will                                                                                            $2,307.70
 403 Orchard Hilld                                   be Paid, for the
 Dr.                                                 Pay Period Prior
 #8                                                  to Filing,
 Jeffersonville, IN                                  According to the
 47130                                               Wage Motion
 Nashiria Neal                                       Notice Only - Will                                                                                              $340.00
 1515 Byron Dr.                                      be Paid, for the
 Clarksville, IN 47129                               Pay Period Prior
                                                     to Filing,
                                                     According to the
                                                     Wage Motion
 Taylor Barnett                                      Notice Only - Will                                                                                              $242.00
 30 Countryside Dr.                                  be Paid, for the
 New Albany, IN                                      Pay Period Prior
 47150                                               to Filing,
                                                     According to the
                                                     Wage Motion
 Thomas Cornett                                      Notice Only - Will                                                                                              $930.00
 1444 Vincennes St.                                  be Paid, for the
 New Albany, IN                                      Pay Period Prior
 47150                                               to Filing,
                                                     According to the
                                                     Wage Motion
 William Jacobs                                      Loan                                                                                                        $44,200.00
 3505 Grant Line Rd.
 New Albany, IN
 47150




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
           Case 23-90970-AKM-11                                          Doc 1              Filed 10/06/23                         EOD 10/06/23 09:58:04                               Pg 10 of 74

 Fill in this information to identify the case:

 Debtor name            JMWays LLC d/b/a Skyline Chili

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF INDIANA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,200,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           157,890.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,357,890.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,354,914.72


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            13,190.64

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           177,314.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,545,419.36




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-90970-AKM-11                    Doc 1        Filed 10/06/23           EOD 10/06/23 09:58:04                         Pg 11 of 74

Fill in this information to identify the case:

Debtor name         JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     First Savings Bank                                Checking                              9517                                     $4,418.00




          3.2.     PNC Bank                                          Checking                              5299                                       $100.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $4,518.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
          Case 23-90970-AKM-11                    Doc 1         Filed 10/06/23     EOD 10/06/23 09:58:04               Pg 12 of 74

Debtor       JMWays LLC d/b/a Skyline Chili                                          Case number (If known)
             Name

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Food products, paper
          goods and merchandise                                              $11,000.00                                          $11,000.00




23.       Total of Part 5.                                                                                                   $11,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
          Case 23-90970-AKM-11                     Doc 1        Filed 10/06/23            EOD 10/06/23 09:58:04             Pg 13 of 74

Debtor       JMWays LLC d/b/a Skyline Chili                                                 Case number (If known)
             Name

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Furniture                                                                $88,241.00                                         $88,241.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $88,241.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    Food Trailer with equipment                                       $2,100.00                                         $1,250.00


          47.2.    Van                                                             $10,000.00                                         $10,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Walk in cooler/freezer, steam table, ice
          machine, smallwares.                                                     $42,881.00                                         $42,881.00




51.       Total of Part 8.                                                                                                        $54,131.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
           Case 23-90970-AKM-11                   Doc 1        Filed 10/06/23           EOD 10/06/23 09:58:04                 Pg 14 of 74

Debtor        JMWays LLC d/b/a Skyline Chili                                              Case number (If known)
              Name


              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                    Building located on
                    leased land.                                                   Unknown                                            $1,200,000.00




56.        Total of Part 9.                                                                                                         $1,200,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Skyline Franchise Agreementa nd option for
           two additional locations                                                Unknown                                                Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
           Case 23-90970-AKM-11                    Doc 1         Filed 10/06/23          EOD 10/06/23 09:58:04           Pg 15 of 74

Debtor        JMWays LLC d/b/a Skyline Chili                                               Case number (If known)
              Name


66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
           Case 23-90970-AKM-11                                 Doc 1           Filed 10/06/23                    EOD 10/06/23 09:58:04                  Pg 16 of 74

Debtor          JMWays LLC d/b/a Skyline Chili                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $4,518.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $11,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $88,241.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $54,131.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,200,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $157,890.00           + 91b.            $1,200,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,357,890.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
          Case 23-90970-AKM-11                           Doc 1          Filed 10/06/23              EOD 10/06/23 09:58:04                   Pg 17 of 74

Fill in this information to identify the case:

Debtor name          JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    First Savings Bank                           Describe debtor's property that is subject to a lien               $1,354,914.72                       $0.00
       Creditor's Name                              SEE UCC FINANCING STATEMENT
       501 E. Lewis & Clark                         ATTACHED
       Parkway
       Clarksville, IN 47129
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7008
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                        $1,354,914.7
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   2

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 18 of 74
          Case 23-90970-AKM-11                           Doc 1        Filed 10/06/23                  EOD 10/06/23 09:58:04                    Pg 19 of 74

Fill in this information to identify the case:

Debtor name        JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $561.00         $0.00
          Angel Long                                          Check all that apply.
          712 Academy Dr.                                        Contingent
          Apt 11                                                 Unliquidated
          New Albany, IN 47150                                   Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only - Will be Paid, for the Pay Period
                                                              Prior to Filing, According to the Wage Motion
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $437.00         $0.00
          Christopher Goode                                   Check all that apply.
          494 South Main St.                                     Contingent
          Marengo, IN 47140                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Notice Only - Will be Paid, for the Pay Period
                                                              Prior to Filing, According to the Wage Motion
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
                                                                                                              30999
         Case 23-90970-AKM-11                           Doc 1        Filed 10/06/23                 EOD 10/06/23 09:58:04        Pg 20 of 74

Debtor      JMWays LLC d/b/a Skyline Chili                                                           Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,008.00   $0.00
         David Kessinger II                                 Check all that apply.
         2220 E Spring St.                                      Contingent
         New Albany, IN 47150                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $0.00    $0.00
         David Kessinger Sr.                                Check all that apply.
         2221 Hamburg Pike                                      Contingent
         Jeffersonville, IN 47130                               Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $207.00    $0.00
         Elizabeth Nieman                                   Check all that apply.
         6255 Forest Grove Dr. NE                               Contingent
         Georgetown, IN 47122                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,188.00   $0.00
         Gary Swartz                                        Check all that apply.
         2225 Heritage Way Northwest                            Contingent
         Corydon, IN 47112                                      Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2 of 7
         Case 23-90970-AKM-11                           Doc 1        Filed 10/06/23                 EOD 10/06/23 09:58:04      Pg 21 of 74

Debtor      JMWays LLC d/b/a Skyline Chili                                                           Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $495.00   $0.00
         Haley Hagedorn                                     Check all that apply.
         1611 State St.                                         Contingent
         New Albany, IN 47150                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $495.00   $0.00
         Hannah Doss                                        Check all that apply.
         4244 Grantline View Court                              Contingent
         New Albany, IN 47150                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Indiana Department of Revenue                      Check all that apply.
         100 North Senate Avenue                                Contingent
         Indianapolis, IN 46204                                 Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            2020-present income and other withholding
                                                            taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $0.00   $0.00
         Internal Revenue Service                           Check all that apply.
         575 N. Pennsylvania Street                             Contingent
         Indianapolis, IN 46204                                 Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            2020-present income and withholding taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 3 of 7
         Case 23-90970-AKM-11                           Doc 1        Filed 10/06/23                 EOD 10/06/23 09:58:04        Pg 22 of 74

Debtor      JMWays LLC d/b/a Skyline Chili                                                           Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $132.00    $0.00
         Jenna Knauer                                       Check all that apply.
         708 Academy Dr.                                        Contingent
         Apt 20                                                 Unliquidated
         New Albany, IN 47150                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $336.00    $0.00
         Jeremiah Royality                                  Check all that apply.
         2688 Grant Line Road                                   Contingent
         Apt 10D                                                Unliquidated
         New Albany, IN 47150                                   Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $981.00    $0.00
         Kami Kessinger                                     Check all that apply.
         2221 Hamburg Pike                                      Contingent
         Jeffersonville, IN 47130                               Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,076.94   $0.00
         Kim Clare                                          Check all that apply.
         145 McGrain St.                                        Contingent
         Corydon, IN 47112                                      Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 7
         Case 23-90970-AKM-11                           Doc 1        Filed 10/06/23                 EOD 10/06/23 09:58:04        Pg 23 of 74

Debtor      JMWays LLC d/b/a Skyline Chili                                                           Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $468.00    $0.00
         Kindra Bailey                                      Check all that apply.
         352 Erni Ave.                                          Contingent
         New Albany, IN 47150                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $131.00    $0.00
         Lisa Graham                                        Check all that apply.
         814 University Woods Dr.                               Contingent
         New Albany, IN 47150                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $855.00    $0.00
         Mariah Smith                                       Check all that apply.
         1722 Ekin Avenue                                       Contingent
         New Albany, IN 47150                                   Unliquidated
                                                                Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,307.70   $0.00
         Mike Marlow                                        Check all that apply.
         403 Orchard Hilld Dr.                                  Contingent
         #8                                                     Unliquidated
         Jeffersonville, IN 47130                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice Only - Will be Paid, for the Pay Period
                                                            Prior to Filing, According to the Wage Motion
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                    No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 5 of 7
           Case 23-90970-AKM-11                           Doc 1         Filed 10/06/23                  EOD 10/06/23 09:58:04                        Pg 24 of 74

Debtor        JMWays LLC d/b/a Skyline Chili                                                             Case number (if known)
              Name

2.19       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $340.00   $0.00
           Nashiria Neal                                        Check all that apply.
           1515 Byron Dr.                                          Contingent
           Clarksville, IN 47129                                   Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Notice Only - Will be Paid, for the Pay Period
                                                                Prior to Filing, According to the Wage Motion
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.20       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $242.00   $0.00
           Taylor Barnett                                       Check all that apply.
           30 Countryside Dr.                                      Contingent
           New Albany, IN 47150                                    Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Notice Only - Will be Paid, for the Pay Period
                                                                Prior to Filing, According to the Wage Motion
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.21       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $930.00   $0.00
           Thomas Cornett                                       Check all that apply.
           1444 Vincennes St.                                      Contingent
           New Albany, IN 47150                                    Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Notice Only - Will be Paid, for the Pay Period
                                                                Prior to Filing, According to the Wage Motion
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.             $133,114.00
          Mike Marlow                                                             Contingent
          3310 E 10th St. Suite 351                                               Unliquidated
          Jeffersonville, IN 47130                                                Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Loan
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 6 of 7
          Case 23-90970-AKM-11                         Doc 1         Filed 10/06/23                EOD 10/06/23 09:58:04                         Pg 25 of 74

Debtor       JMWays LLC d/b/a Skyline Chili                                                         Case number (if known)
             Name

3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Skyline Chili, Inc.                                                 Contingent
          4180 Thunderbird Lane                                               Unliquidated
          Fairfield, OH 45014                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Franchise Agreement
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $44,200.00
          William Jacobs                                                      Contingent
          3505 Grant Line Rd.                                                 Unliquidated
          New Albany, IN 47150                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                        13,190.64
5b. Total claims from Part 2                                                                           5b.   +    $                       177,314.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          190,504.64




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
         Case 23-90970-AKM-11                      Doc 1        Filed 10/06/23            EOD 10/06/23 09:58:04                    Pg 26 of 74

Fill in this information to identify the case:

Debtor name       JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Area Franchise
           lease is for and the nature of        Agreement
           the debtor's interest

               State the term remaining
                                                                                    Skyline Chili, Inc.
           List the contract number of any                                          4180 Thunderbird Ln.
                 government contract                                                Fairfield, OH 45014




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 23-90970-AKM-11                    Doc 1       Filed 10/06/23           EOD 10/06/23 09:58:04                   Pg 27 of 74

Fill in this information to identify the case:

Debtor name      JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Michael Marlow              3310 E 10th St. #351                                      First Savings Bank                 D   2.1
                                      Jeffersonville, IN 47130                                                                     E/F
                                                                                                                                   G




   2.2    NA One LLC                  3310 E 10th St. #351                                      First Savings Bank                 D   2.1
                                      Jeffersonville, IN 47130                                                                     E/F
                                                                                                                                   G




   2.3    William Jacobs              3505 Grant Line Rd.                                       First Savings Bank                 D   2.1
                                      New Albany, IN 47150                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
          Case 23-90970-AKM-11                    Doc 1        Filed 10/06/23             EOD 10/06/23 09:58:04                   Pg 28 of 74




Fill in this information to identify the case:

Debtor name         JMWays LLC d/b/a Skyline Chili

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF INDIANA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $759,668.34
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $998,351.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             See Attached                                                                            Unknown            Secured debt
                                                                                                                        Unsecured loan repayments
                                                                                                                        Suppliers or vendors
                                                                                                                        Services
                                                                                                                        Other



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 23-90970-AKM-11                     Doc 1        Filed 10/06/23             EOD 10/06/23 09:58:04                     Pg 29 of 74
Debtor      JMWays LLC d/b/a Skyline Chili                                                      Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                 Dates given                             Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
           Case 23-90970-AKM-11                    Doc 1         Filed 10/06/23             EOD 10/06/23 09:58:04                   Pg 30 of 74
Debtor      JMWays LLC d/b/a Skyline Chili                                                        Case number (if known)



      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
         Case 23-90970-AKM-11                       Doc 1        Filed 10/06/23             EOD 10/06/23 09:58:04                     Pg 31 of 74
Debtor      JMWays LLC d/b/a Skyline Chili                                                       Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Store Space Self Storage                               Mike Marlow, William                  Catering supplies and paper                    No
      3525 Grant Line Rd.                                    Jacobs                                products                                       Yes
      New Albany, IN 47150



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
           Case 23-90970-AKM-11                    Doc 1        Filed 10/06/23             EOD 10/06/23 09:58:04                       Pg 32 of 74
Debtor      JMWays LLC d/b/a Skyline Chili                                                      Case number (if known)




     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    NA One LLC                               NEED INFORMATION                                  EIN:         XX-XXXXXXX
            3310 E. 10th St. #351
            Jeffersonville, IN 47130                                                                   From-To


   25.2.    Willow Mangement Ltd.                    NEED INFORMATION                                  EIN:         XX-XXXXXXX
            3310 E. 10th St. #251
            Jeffersonville, IN 47130                                                                   From-To



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Lyssa Phifer                                                                                                       2022
                    MKA Pal Beach, LLC
                    631 US Highway 1 STE 405
                    North Palm Beach, FL 33408
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
         Case 23-90970-AKM-11                      Doc 1        Filed 10/06/23             EOD 10/06/23 09:58:04                    Pg 33 of 74
Debtor      JMWays LLC d/b/a Skyline Chili                                                      Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.2.        Rob Howard
                    222 Kentucky Dr.
                    Newport, KY 41071

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      William Jacobs                          3505 Grant Line Rd.                                 Managing Partner                          50
                                              New Albany, IN 47150

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Michael Marlow                          3310 E 10th St. #351                                Managing Partner                          50
                                              Jeffersonville, IN 47130



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6
         Case 23-90970-AKM-11                      Doc 1        Filed 10/06/23             EOD 10/06/23 09:58:04                 Pg 34 of 74
Debtor      JMWays LLC d/b/a Skyline Chili                                                      Case number (if known)



             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 6, 2023

/s/ William Jacobs                                              William Jacobs
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Managing Partner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 35 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 36 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 37 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 38 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 39 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 40 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 41 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 42 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 43 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 44 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 45 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 46 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 47 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 48 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 49 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 50 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 51 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 52 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 53 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 54 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 55 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 56 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 57 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 58 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 59 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 60 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 61 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 62 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 63 of 74
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23    EOD 10/06/23 09:58:04          Pg 64 of 74




                                       00003948 0014267 0000-0005 M12820DDA09012300365 01 L 00000000
                                                          Case 23-90970-AKM-11        Doc 1   Filed 10/06/23     EOD 10/06/23 09:58:04          Pg 65 of 74

                                                                                                                                Account Number
                                                                                                                                Statement Date            08/31/2023
                                                                                                                                Statement Thru Date       08/31/2023
                                                                                                                                Page                               2

                                                        DEPOSITS AND OTHER CREDITS (Continued)

                                                        Date     Description                                                                             Deposits
                                                        Aug 21 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           2,242.66
                                                        Aug 22 UBER USA 6787/EDI PAYMNT REF*TN*C02U282X3I\ SKYLINE CHILI 3505                                53.31
                                                               GRA
00003948 0014268 0002-0005




                                                        Aug 22 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                        190.79
                                                        Aug 22 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           1,784.64
                                                        Aug 23 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                         92.29
                                                        Aug 23 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           1,726.93
                                                        Aug 24 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                         39.53
                                                        Aug 24 SQUARE INC/230824P2 L21653527372 JM WAYS LLC                                                 427.48
                                                        Aug 24 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           1,886.69
                                                        Aug 25 DEPOSIT                                                                                      300.00
                                                        Aug 25 DEPOSIT# 000001776249517                                                                   3,906.00
                                                        Aug 25 GRUBHUB INC/AUG ACTVTY JM WAYS LLC                                                           133.27
                                                        Aug 25 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                        211.86
                                                        Aug 25 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           1,978.65
                                                        Aug 28 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                        129.57
                                                        Aug 28 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           2,348.54
                                                        Aug 28 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           2,418.27
                                                        Aug 28 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           2,814.56
                                                        Aug 29 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                        310.25
                                                        Aug 29 UBER USA 6787/EDI PAYMNT REF*TN*EBMIKBTP6Q\ SKYLINE CHILI 3505                               339.32
                                                               GRA
                                                        Aug 29 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           3,199.92
                                                        Aug 30 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                        136.91
                                                        Aug 30 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           2,136.27
                                                        Aug 31 DOORDASH, INC./3505 GRANT JM WAYS LLC                                                        133.35
                                                        Aug 31 HRTLAND PMT SYS/TXNS/FEES SKYLINE CHILI OF SOUTH                                           1,746.61


                                                        DEBITS AND OTHER WITHDRAWALS

                                                        Date     Description                                                                          Withdrawals
                                                        Aug 14   WAL-MART SUPER CENTER NEW ALBANY IN                                                        106.10
                                                        Aug 15   AMERICAN WATER E/BILLPAY AMERICAN WATER JM WAYS LLC                                        260.00
                                                        Aug 15   AMEX EPAYMENT/ACH PMT MIKE MARLOW                                                        1,000.00
                                                        Aug 15   RFS CINCINNATI/AR PAYMENT SKYLINE OF SOUTHERN IN                                         3,210.16
                                                        Aug 16   REWARDS NETWORK/SETTLEMENT SKYLINE CHILI OF SOUTH                                           49.32
                                                        Aug 16   TELEPHONE TRANSFER WITHDRAWAL                                                            3,250.00
                                                        Aug 18   ADP PAYROLL FEES/ADP FEES 639961316SKYLINE CHILI                                           141.90
                                                        Aug 18   DUKEENERGYCORPOR/WEB_PAY 1110798587                                                      1,550.00
                                                        Aug 18   RFS CINCINNATI/AR PAYMENT SKYLINE OF SOUTHERN IN                                         3,125.14
                                                        Aug 22   RFS CINCINNATI/AR PAYMENT SKYLINE OF SOUTHERN IN                                         3,258.54
                                                        Aug 23   NCR HSR DIV/8002255627 JM WAYS LLC                                                          57.18
                                                        Aug 23   REWARDS NETWORK/SETTLEMENT SKYLINE CHILI OF SOUTH                                           72.51
                                                        Aug 23   DOR ITS PAYMENTS/INDORITS SKYLINE CHILI OF SOUTH                                         5,493.43
                                                        Aug 24   BILL PAY VB3CMS97 ROB HOWARD                                                               400.00
                                                        Aug 25   ADP PAYROLL FEES/ADP FEES 640430964SKYLINE CHILI                                            68.10
                                                        Aug 25   RFS CINCINNATI/AR PAYMENT SKYLINE OF SOUTHERN IN                                         3,219.19
                             AKGJHNDKFIF ANFOE ANEMDK   Aug 25   INTERNET TRANSFER TO CHECKING-0796                                                      10,800.00
                             AFNGFLGDJ HB L OLKGOKOKK
                             ADOOECGMHLGHGKBKFACJBJOK   Aug 29   RFS CINCINNATI/AR PAYMENT SKYLINE OF SOUTHERN IN                                         3,200.47
                             ADHMHDO J L HHBKEJMBOLGK
                             ADO KNJBJBJOBDLE DK CHK
                             AGMKCCICCCAAICOOEKIMOKMK
                                                        Aug 30   REWARDS NETWORK/SETTLEMENT SKYLINE CHILI OF SOUTH                                           62.60
                                                        Aug 30   EQUITABLE/INS. 118303376MM JM WAYS                                                         594.04
                                                        Aug 30   INTERNET TRANSFER TO CHECKING-0796                                                       3,000.00




.
                                                                                                       00003948 0014268 0002-0005 M12820DDA09012300365 01 L 00000000
                                                         Case 23-90970-AKM-11      Doc 1   Filed 10/06/23    EOD 10/06/23 09:58:04           Pg 66 of 74

                                                                                                                           Account Number
                                                                                                                           Statement Date             08/31/2023
                                                                                                                           Statement Thru Date        08/31/2023
                                                                                                                           Page                                3


                                                        ATM/POS TRANSACTION SUMMARY

                                                        Date   Description                                                        Deposits       Withdrawals
                                                        Aug 14 ACCT-TO-ACCT TRANSFER APR*APPRIVER                                                        70.98
                                                               850-932-5338 FL *****3476 08/13 00:42
00003948 0014269 0003-0005




                                                        Aug 14 POS PURCHASE NON-PIN WAL WAL-MART SUPER                                                   16.34
                                                               451765 2691 WAL-SAMS NEW ALBANY IN
                                                               *****3476 08/14 11:00
                                                        Aug 14 POS PURCHASE NON-PIN GFS STORE #1515                                                      40.11
                                                               1060 VETERANS PARKWAY CLARKSVILLE IN
                                                               *****3476 08/14 11:39
                                                        Aug 16 POS PURCHASE NON-PIN IN *GASKET GUY OF                                                    69.55
                                                               LOUISVI IN *GASKET GUY OF LOUIS
                                                               800-262-3246 CA *****3476 08/15 19:54
                                                        Aug 21 POS PURCHASE NON-PIN WM SUPERCENTER                                                       72.46
                                                               #2691 WAL-MART SUPER CENTER NEW ALBANY
                                                               IN *****3476 08/19 13:10
                                                        Aug 21 POS PURCHASE NON-PIN KROGER #396 200                                                       8.92
                                                               NEW ALBANY PL. NEW ALBANY IN *****3476
                                                               08/20 15:07
                                                        Aug 22 POS PURCHASE NON-PIN WAL WAL-MART SUPER                                                   11.69
                                                               142659 2691 WAL-SAMS NEW ALBANY IN
                                                               *****3476 08/22 08:14
                                                        Aug 23 POS PURCHASE NON-PIN XERO US                                                              37.00
                                                               INV-4749334 HTTPSWWW.XERO CO *****3476
                                                               08/22 14:53
                                                        Aug 23 POS PURCHASE NON-PIN CASEYS #4273 3718                                                    20.02
                                                               CLIFTY DR MADISON IN *****3476 08/23
                                                               13:41
                                                        Aug 25 POS PURCHASE NON-PIN CIRCLE K 02230 NEW                                                   20.00
                                                               ALBANY IN *****3476 08/23 03:57
                                                        Aug 25 POS PURCHASE NON-PIN MIDWEST SECURITY                                                    255.00
                                                               888-408-0188 OH *****3476 08/24 00:53
                                                        Aug 28 POS PURCHASE NON-PIN USPS PO 1759840750                                                   30.40
                                                               145 E ELM ST NEW ALBANY IN *****3476
                                                               08/28 09:22
                                                        Aug 29 POS PURCHASE NON-PIN WAL-MART #2691                                                      124.49
                                                               2910 GRANT LINE ROAD NEW ALBANY IN
                                                               *****3476 08/29 09:46
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                                                               972-9967900 OH *****3476 08/29 03:30
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                                                               972-9967900 OH *****3476 08/29 03:31
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                                                               972-9967900 OH *****3476 08/29 03:31
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                                                               972-9967900 OH *****3476 08/29 03:31
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                                                               972-9967900 OH *****3476 08/29 03:32
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                             AKGJHNDKFIF ANFOE ANEMDK
                             AFNGFLGDJ HB L OLKG LOKK
                                                               972-9967900 OH *****3476 08/29 03:32
                             ADOOECGMHDOHEJAKFBCDH OK
                             ADHMHDO LM FDNKMAJIJGDOK
                                                        Aug 30 POS PURCHASE NON-PIN CINTAS CORP                                                          42.80
                             ADO JNNLIKDGHADCI MGDMGK          972-9967900 OH *****3476 08/29 03:32
                             AGMMIKAGCGEOMKOKAOIOECEK
                                                        Aug 30 POS PURCHASE NON-PIN WM SUPERCENTER                                                       25.02
                                                               #2691 WAL-MART SUPER CENTER NEW ALBANY
                                                               IN *****3476 08/30 09:21
                                                        Aug 30 ACCT-TO-ACCT TRANSFER SPECTRUM                                                           249.40
                                                               855-707-7328 MO *****3476 08/30 12:22




.
                                                                                                   00003948 0014269 0003-0005 M12820DDA09012300365 01 L 00000000
                                                          Case 23-90970-AKM-11             Doc 1        Filed 10/06/23    EOD 10/06/23 09:58:04          Pg 67 of 74

                                                                                                                                        Account Number
                                                                                                                                        Statement Date             08/31/2023
                                                                                                                                        Statement Thru Date        08/31/2023
                                                                                                                                        Page                                4


                                                        CHECKS PAID

                                                        Date     Check No.           Amount Date          Check No.        Amount Date          Check No.         Amount
                                                        Aug 25 0                        200.00   Aug 22 *2110               2,000.00   Aug 16 *2113                  440.69
                                                        * Indicates a Skip in Check Number(s)
00003948 0014270 0004-0005




                                                        DAILY BALANCE SUMMARY

                                                        Date                        Balance      Date                      Balance     Date                       Balance
                                                        Aug 14                      9,040.22     Aug 21                   13,343.89    Aug 28                      7,843.21
                                                        Aug 15                      7,752.45     Aug 22                   10,102.40    Aug 29                      8,367.74
                                                        Aug 16                      6,388.96     Aug 23                    6,241.48    Aug 30                      6,410.26
                                                        Aug 17                      9,301.36     Aug 24                    8,195.18    Aug 31                      8,290.22
                                                        Aug 18                      6,891.29     Aug 25                      162.67




                             AKGJHNDKFIF ANFOE ANEMDK
                             AFNGFLGDJ HB L OLKGOLOKK
                             ADOOECGMHDGHELBKFACLELOK
                             ADHMHDO IMIHDMBMHLMI LOK
                             ADO LNHCLFEDLKKEAOBNN HK
                             AGAGECAGKOOGCCOGICIOOKEK




.
                                                                                                                00003948 0014270 0004-0005 M12820DDA09012300365 01 L 00000000
Case 23-90970-AKM-11   Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 68 of 74
           Case 23-90970-AKM-11                     Doc 1        Filed 10/06/23            EOD 10/06/23 09:58:04                   Pg 69 of 74
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Southern District of Indiana
 In re       JMWays LLC d/b/a Skyline Chili                                                                   Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                       0.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                       0.00

2.   $      0.00     of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                   Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

                   Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Filing of lien avoidance and redemption motions; communications with clients, trustee and creditors; review and
             advise as to reaffirmation agreements.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Discharge litigations; 707 and 523 actions; excemption issues including, but not limited to, contested motions for
             the turnover by the trustee; contested lien avoidence motions; contested adversary proceedings for the purpose
             of stripping liens; contested motions to redeem; attendance at any reaffirmation hearings, if neccessary; and
             representation in any foreclosure action, collection suit, or non-bankruptcy matter.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 6, 2023                                                          /s/ Weston E. Overturf
     Date                                                                     Weston E. Overturf
                                                                              Signature of Attorney
                                                                              Kroger, Gardis & Regas, LLP
                                                                              111 Monument Circle
                                                                              Suite 900
                                                                              Indianapolis, IN 46204
                                                                              317-777-7443
                                                                              Name of law firm
         Case 23-90970-AKM-11                       Doc 1         Filed 10/06/23             EOD 10/06/23 09:58:04                       Pg 70 of 74

                                                      United States Bankruptcy Court
                                                              Southern District of Indiana
 In re    JMWays LLC d/b/a Skyline Chili                                                                          Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Partner of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date October 6, 2023                                                     Signature /s/ William Jacobs
                                                                                        William Jacobs

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
         Case 23-90970-AKM-11                Doc 1       Filed 10/06/23         EOD 10/06/23 09:58:04               Pg 71 of 74



                                                                                               Verification of Creditor List (rev 12/01/18)
                                              UNITED STATES BANKRUPTCY COURT
                                               SOUTHERN DISTRICT OF INDIANA

In re:                                                           )        Case No.
JMWays LLC d/b/a Skyline Chili                                   )
                                                                 )            Check if this form is submitted with an amended creditor
                                                                 )        list.
                                                      Debtor(s). )

                                               VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in Schedules D, E/F, G, and H are listed in the
creditor list submitted with this verification. This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment fee if there are entities listed on (my/our)
schedules that are not included in the creditor list submitted with this verification.

Dated: October 6, 2023                                               /s/ William Jacobs
                                                                     William Jacobs
                                                                     Signature of Debtor


                                                                     Signature of Joint Debtor

(Note: Certificate of Service not required.)
    Case 23-90970-AKM-11    Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 72 of 74



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                           FIRST SAVINGS BANK
                           501 E. LEWIS & CLARK PARKWAY
                           CLARKSVILLE, IN 47129




                           INDIANA DEPARTMENT OF REVENUE
                           100 NORTH SENATE AVENUE
                           INDIANAPOLIS, IN 46204




                           INTERNAL REVENUE SERVICE
                           575 N. PENNSYLVANIA STREET
                           INDIANAPOLIS, IN 46204




                           MICHAEL MARLOW
                           3310 E 10TH ST. #351
                           JEFFERSONVILLE, IN 47130




                           MIKE MARLOW
                           3310 E 10TH ST. SUITE 351
                           JEFFERSONVILLE, IN 47130




                           NA ONE LLC
                           3310 E 10TH ST. #351
                           JEFFERSONVILLE, IN 47130




                           SKYLINE CHILI, INC.
                           4180 THUNDERBIRD LANE
                           FAIRFIELD, OH 45014
Case 23-90970-AKM-11    Doc 1   Filed 10/06/23   EOD 10/06/23 09:58:04   Pg 73 of 74




                       SKYLINE CHILI, INC.
                       4180 THUNDERBIRD LN.
                       FAIRFIELD, OH 45014




                       WILLIAM JACOBS
                       3505 GRANT LINE RD.
                       NEW ALBANY, IN 47150




                       WILLIAM JACOBS
                       3505 GRANT LINE RD.
                       NEW ALBANY, IN 47150
         Case 23-90970-AKM-11             Doc 1     Filed 10/06/23         EOD 10/06/23 09:58:04        Pg 74 of 74




                                           United States Bankruptcy Court
                                                  Southern District of Indiana
 In re   JMWays LLC d/b/a Skyline Chili                                                Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JMWays LLC d/b/a Skyline Chili in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




October 6, 2023                                   /s/ Weston E. Overturf
Date                                              Weston E. Overturf
                                                  Signature of Attorney or Litigant
                                                  Counsel for JMWays LLC d/b/a Skyline Chili
                                                  Kroger, Gardis & Regas, LLP
                                                  111 Monument Circle
                                                  Suite 900
                                                  Indianapolis, IN 46204
                                                  317-777-7443
